760-672-1325




               MEDICAL PAIN & PROCEDURE:
               TO BE EXCUSED FOR LATE FILING,
               TIME EXTENSION FOR REPLY,
               PARTIAL REASON TO ALLOW 7TH


               Date: 2/16/2022
               Time:
               Room: 4C
               Judge: HON JINSOOK OHTA
1    GOOD CAUSE
2    First of all, I’d like to apologize to the Court for not filing a timely Response. I had
3    planned on submitting it before its due date, but for the last month or so, I’ve been really
4    consumed by hip pain because it had progressed to that state due to the 2 additional years,
5    I had to live with it after OHA wrongfully terminated our residency. At that time, I didn’t
6    want to proceed with the surgery, while homeless and unsure where I’d lay my head each
7    night.
8    Due to the fact that I have a really bad memory with a mental disability, the pain added to
9    it and many things were subdued by the pain or took away my desire to do it, for this I
10   apologize. I’m sure a lot of my case errors, hardships and limitations were also caused by
11   the extreme amount of pain I’d endure each moment because I chose not to take pain
12   killers, which my primary physician will gladly confirm. I slacked on a lot because doing

13   it wasn’t often worth the related pain. I was very hard for me to focus, sit and do research,

14   etc., but I did do my best to do what was expected by the Courts. OHA new I had a hip in

15
     need of & pending a surgery date when they hatefully terminated our residency.

16
     On a brighter note, I submitted the latest documents because I’m beginning to feel better

17
     due to the fact that I had hip replacement surgery on February 1, 2022 at 7:20am, at
     UCSD LaJolla. On the day I submitted the latest documents, was the day I began to feel
18
     better & ready, 02/16/2022, but actually the day before because I submitted it at around
19
     7:00am. I’m requesting an extension to file a response to Atty Hamilton’s super duper
20
     quick response/reply to my Motion. It would be refreshing if she’d focus that anxiousness
21
     on the Answers that the Court has Ordered on 2 or 3 occasions, that undoubtably cause
22
     paralysis, if you’re exposed.
23
     I ask the Court to take my condition into consideration for this point in time and during
24
     the course of nearly 2 years that I’ve been with the Court. My thought process was
25
     definitely distracted each moment by the pain I was forced accept & maintain, while not
26
     in my home environment. I can’t think of one document on the docket that this should be
27
     linked to, I can think of several.
28
   What Services You Will Receive
                                      .
Home Health Care Agency *             AccentCare - San Diego
Phone *                               (858) 576-7410


Future cases for Musgrove, Irvin Ulysses [11305216]
Case ID Status     Date            Time       Len   Procedure                  Provider               Location
1409982 Sch        2/1/2022         7:20 AM   115   Right Total Hip            Cidambi, Krishna Ravi, LA JOLLA MAIN
                                                    Replacement                MD [62743]             OR


Discharge Instructions




Follow-up Appointment:
Your clinic appointment will be:

Future Appointments
Date                Time                       Provider               Department               Center
3/2/2022            10:45 AM                   Cidambi, Krishna Ravi, KOP Ortho                Koman Pav
                                               MD
6/1/2022               10:45 AM                Cidambi, Krishna Ravi, KOP Ortho                Koman Pav
                                               MD


    If this appointment was not scheduled while you were in the hospital then our clinic scheduler will call you in the
    next few days to schedule this appointment. If you do not hear from us within 3 days you should call the clinic.


    General Instructions

        • Use ice to help control the swelling and pain. DO NOT USE HEAT – this will increase the swelling.

        What to do if you are concerned about your symptoms after discharge:
        • Call the office (858-657-8200) or operator (858-657-7000) if you develop fevers (over 100.5) or chills, develop
          drainage from the site of the wound or redness surrounding the wound, increased pain, increased leg
          swelling, or new/severe headache.

        • Go to the emergency room if you develop chest pain or shortness of breath.

        When to follow up with your surgeon:
        • You should have an office appointment about 4 weeks following your discharge from the hospital. If you do
          not, please call 858-657-8200.




Irvin U. Musgrove (MRN: 11305216) • Printed at 2/1/22 5:10 PM                                           Page 2 of 11
